         Case 1:21-cv-10613-DPW Document 12 Filed 08/12/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


NAUTILUS INSURANCE COMPANY,
               Plaintiff,
                                                                    CIVIL ACTION
              V.                                                    No. 21-cv-10613-DPW

NORTHEAST TANK AND ENVIRONMENTAL
SERVICES, INC. and KMSPE THOMAS, LLC,
                  Defendants.



                                     FINAL JUDGMENT

WOODLOCK, D.J.

       No just cause having been shown pursuant to the Order to Show Cause [ECF #11] issued

on July 27, 2021, the Plaintiff’s Motion for Judgment on the Pleadings Pursuant to Rule 12(c)

[ECF# 9] is hereby GRANTED.

       IT IS ORDERED, ADJUDGED AND DECREED that:

Nautilus is not obligated to defend or indemnify its insured, Northeast Tank, against the
underlying counterclaim in Worcester Superior Court because KMPSE no longer seeks to
recover “property damage” arising from an “occurrence.”


                                                    By the Court,

DATED: August 12, 2021                              /s/ Barbara I. Beatty
                                                    Deputy Clerk
